                                                                    LOWNDES COUNTY, GEORGIA
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                                                                     10 County - Superior Court
                                                                                                              2021CV0757
                                                                                                         5/7/2021 9:06 AM
                                                                                                            Beth C. Greene
                                                                                    Clerk of Superior State Juvenile Courts
                                                                                                 Reviewed by: Lindsey Tutl
                    IN THE SUPERIOR COURT OF LOWNDES COUNTY

                                      STATE OF GEORGIA

JOHN MILLER,
                                                                     CIVIL ACTION
       Plaintiff,
                                                                     FILE NO.: 2021CV0757
V.


SAM'S EAST,INC.,
d/b/a SAM'S CLUB,

       Defendant.


                                            COMPLAINT

       COMES NOW John Miller, Plaintiff in the above-styled action, and files this his

Complaint against Defendant, showing the Court as follows:

                                                      1.

       Defendant SAM'S EAST,INC., hereinafter referred to as "Defendant," is a foreign

corporation formed in the State of Arkansas and is authorized to and does transact business

within the State of Georgia.

                                                     2.

       Defendant, at all relevant times, owned the Sam's Club located at 1201 N. Westover

Blvd, Albany, Georgia, and is subject to the jurisdiction of this Honorable Court. Defendant

may be served through its registered agent: The Corporation Company (FL), 106 Colony Park

Drive, Suite 800-B, Cumming, Georgia 30040-2794.

                                                     3.

       Jurisdiction and venue are proper in this Court.



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                                                     4.

       On or about May 18, 2019, Plaintiff was present at the Sam's Club at 1201 N. Westover

Blvd in Albany, Georgia as a customer/business invitee.

                                                     5.

       Plaintiff was inside Defendant's establishment and, as he was walking, tripped on the

corner of a pallet that was supporting a box of watermelons. The dangerous condition (i.e.

protruding pallet) was not readily apparent to the average customer/business invitee.

                                                     6.

       Defendant knew or should have known of the dangerous condition before Plaintiff was

injured by the defect.

                                                     7.

       Defendant had notice of the dangerous condition.

                                                     8.

       The Defendant's employees and agents knew of such dangerous condition on May 18,

2019, and notwithstanding their knowledge of such dangerous condition, maintained such

dangerous condition on May 18, 2019.

                                                     9.

       This dangerous condition, which was known to the agents and employees of the

Defendant, was unknown to Plaintiff

                                                     10.

       As a result of the incident, Plaintiff has suffered serious bodily injury.




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                                                     11.

       As a result of the injuries and negligence of Defendant, Plaintiff has suffered past, present

and will in the future suffer pain therefrom.

                                                     12.

       Plaintiff has incurred medical expenses for treatment of his injuries.

                                                     13.

       Plaintiff's injuries are permanent and continuing in nature.

                                                      14.

        All damages suffered by Plaintiff are the direct and proximate result of the Defendant's

negligent acts and omissions.



WHEREFORE,Plaintiff prays as follows:

   a. That service of process issue in accordance with the law;

    b. That Plaintiff have a jury trial on all issues set forth herein;

   c. That Plaintiff recover ajudgment against the Defendant in the amount of $350,000 for

        medical bills, and pain and suffering;

    d. That Plaintiff be entitled to all costs of this action;

   e. That Plaintiff have such other and further relief as this Honorable Court deems just and

        proper.




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This the 7th day of May,2021.

                                                        JODY D.PETERMAN,LLC



                                                         /s/Jody D. Peterman
                                                        JODY D.PETERMAN
                                                        Attorney for Plaintiff
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                                                        Georgia Bar No.: 883590




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              IN THE SUPERIOR COURT OF LOWNDES COUNTY
                           STATE OF GEORGIA

JOHN MILLER,                                               Civil Action File No.
                                                           2021CV0757
             Plaintiff,
v.

SAM'S EAST, INC. d/b/a SAM'S CLUB,

             Defendant.
                              /

                           ANSWER OF DEFENDANT

      COMES NOW, Defendant SAM'S EAST, INC. and makes this Answer to

Plaintiff's Complaint as follows:

                                    FIRST DEFENSE

      Plaintiff's Complaint fails to state a claim against Defendant upon which relief

can be granted.

                                  SECOND DEFENSE

      Plaintiff's alleged damages, if any, were directly and proximately caused by

Plaintiff's own contributory negligence and failure to exercise ordinary care.

                                  THIRD DEFENSE

      Plaintiff was not in the exercise of ordinary care for his own safety in the

premises, and by the exercise of ordinary care could have avoided any injury to

himself; and on account thereof, Plaintiff is not entitled to recover from Defendant.


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                                FOURTH DEFENSE

      Defendant denies that it was negligent in any manner whatsoever or that any

negligent act or omission on its part caused or contributed to any injury or damage

alleged to have been sustained by Plaintiff.

                                 FIFTH DEFENSE

      Plaintiff assumed the risk of any hazard that was presented and is thereby

barred from recovering against Defendant.

                                 SIXTH DEFENSE

      Defendant responds to the enumerated paragraphs of Plaintiff's Complaint

as follows:

                                         1.

      Defendant admits the allegations contained in paragraph 1 of the Plaintiff's

Complaint.

                                         2.

      Defendant admits only that it operated the subject Club. Defendant denies

the remaining allegations contained in paragraph 2 of the Plaintiff's Complaint, as

stated.

                                         3.

      Defendant denies the allegations contained in paragraph 3 of the Plaintiff's



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Complaint. Jurisdiction and venue are now proper in the United States District

Court, Middle District of Georgia, Valdosta Division.

                                        4.

      Defendant lacks sufficient knowledge and information to either admit or deny

the allegations contained in paragraph 4 of Plaintiff's Complaint.

                                        5.

      Defendant denies the allegations contained in paragraph 5 of the Plaintiff's

Complaint.

                                        6.

      Defendant denies the allegations contained in paragraph 6 of the Plaintiff's

Complaint.

                                        7.

      Defendant denies the allegations contained in paragraph 7 of the Plaintiff's

Complaint.

                                        8.

      Defendant denies the allegations contained in paragraph 8 of the Plaintiff's

Complaint.

                                        9.

      Defendant denies the allegations contained in paragraph 9 of the Plaintiff's



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Complaint.

                                        10.

      Defendant denies the allegations contained in paragraph 10 of the Plaintiff's

Complaint.

                                        11.

      Defendant denies the allegations contained in paragraph 11 of the Plaintiff's

Complaint.

                                        12.

      Defendant denies the allegations contained in paragraph 12 of the Plaintiff's

Complaint.

                                        13.

      Defendant denies the allegations contained in paragraph 13 of the Plaintiff's

Complaint.

                                        14.

      Defendant denies the allegations contained in paragraph 14 of the Plaintiff's

Complaint.

                                        15.

      All other allegations contained in the Complaint which are not specifically

responded to herein, are, therefore, denied.



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                                         16.

       Defendant denies Plaintiff's prayer for relief, including subparagraphs a., b.,

c., d., and e., thereof.

       WHEREFORE, Defendant prays that Plaintiff's Complaint be dismissed with

all costs cast upon the Plaintiff. DEFENDANT DEMANDS TRIAL BY A JURY OF

TWELVE (12) PERSONS AS TO ALL ISSUES SO TRIABLE.


                                       McLAIN & MERRITT, P.C.



                                       /s/ Howard M. Lessinger
                                       Howard M. Lessinger
                                       Georgia Bar No. 447088



                                        /s/ Ernest L. Beaton, IV
                                       Ernest L. Beaton, IV
                                       Georgia Bar No. 213044
                                       Attorneys for Defendant
                                       SAM'S EAST, INC.

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                        CERTIFICATE OF SERVICE

     I hereby certify that a copy of the above and foregoing ANSWER OF

DEFENDANT SAM'S EAST, INC. has this day been filed and served upon opposing

counsel via Odyssey eFileGA.

     This the 26th day of May, 2021.

                                   McLAIN & MERRITT, P.C.



                                   /s/ Howard M. Lessinger
                                   Howard M. Lessinger
                                   Georgia Bar No. 447088
                                   Attorney for Defendant
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